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8                            UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
10    ORLANDO GARCIA,                            Case No. CV 20-08606 AB (AGRx)
11                    Plaintiff,
12    v.                                         ORDER DISMISSING CIVIL ACTION
13
      KIHO KIM, in individual and
14    representative capacity as Trustee of
      the Kiho and Kyungjoo Kim Living
15    Trust, UTD, Dated May 23, 2007;, et
      al.,
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                      Defendants.
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           THE COURT having been advised by counsel that the above-entitled action has
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     been settled;
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           IT IS THEREFORE ORDERED that this action is hereby dismissed without
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     costs and without prejudice to the right, upon good cause shown within 60 days, to re-
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     open the action if settlement is not consummated. This Court retains full jurisdiction
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     over this action and this Order shall not prejudice any party to this action.
24
25   Dated: January 11, 2021          _______________________________________
26                                    ANDRÉ BIROTTE JR.
                                      UNITED STATES DISTRICT JUDGE
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